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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

 

IN RE: INTERIOR MOLDED DOORS Lead Civil Action No. 3:18-cv-00718-JAG
ANTITRUST LITIGATION

 

 

FINAL APPROVAL ORDER AND JUDGMENT

Direct Purchaser Plaintiffs (“Plaintiffs”), individually and on behalf of members of the
Settlement Class (defined in Paragraph 6 herein), and JELD-WEN, Inc. (“JELD-WEN”) and
Masonite Corporation (“Masonite”) (collectively, “Defendants”) entered into a Settlement
Agreement dated August 31, 2020 (the “Settlement Agreement”) to fully and finally resolve the
Settlement Class’s claims (the “Settlement”). On September 14, 2020, Plaintiffs moved the Court
for an order preliminarily approving the Settlement, authorizing Plaintiffs to disseminate notice to
potential members of the Settlement Class, and scheduling a hearing to determine whether the
Settlement is fair, reasonable, and adequate and should be finally approved pursuant to Fed. R.
Civ. P. 23(e). On October 8, 2020, the Court held a hearing on the motion, during which the Court
stated it would preliminarily approve the Original Settlement and scheduled a Fairness Hearing
for March 16, 2021. Subsequently, Plaintiffs and Defendants entered into a Revised Settlement
Agreement dated January 27, 2021 (the “Revised Settlement Agreement”), to fully and finally
resolve the Settlement Class’s claims (the “Revised Settlement”). On January 29, 2021, Plaintiffs
moved the Court for an order preliminarily approving the Revised Settlement, authorizing
Plaintiffs to disseminate notice to potential members of the Settlement Class, and scheduling a
hearing to determine whether the Revised Settlement is fair, reasonable, and adequate and should
be finally approved pursuant to Fed. R. Civ. P. 23(e). By order entered February 5, 2021 (the

“Preliminary Approval Order”), the Court granted preliminary approval of the Revised Settlement,
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certified the Settlement Class solely for the purpose of sending notice of the Revised Settlement,
and authorized Plaintiffs to disseminate notice of the Revised Settlement, the fairness hearing, and
related matters. Notice has been provided to potential members of the Settlement Class and the
appropriate governmental entities under the Class Action Fairness Act pursuant to the Preliminary
Approval Order. The Court held a hearing on the fairness of the Revised Settlement on June 2,
2021.

The Court has considered the Revised Settlement Agreement, Plaintiffs’ Motion for Final
Approval of the Proposed Settlement, the arguments presented at the fairness hearing, and the
entire record in this matter.

AND NOW, this 3 day of June, 2021, it is hereby ORDERED that:

1. The Court has jurisdiction over the subject matter of this Action.

2. Terms capitalized in this Final Approval Order and Judgment (“Final Approval
Order”) and not otherwise defined differently herein have the same meanings as they have in the
Revised Settlement Agreement.

3. The Preliminary Approval Order outlined the form and manner by which the
Plaintiffs would provide potential members of the Settlement Class with notice of the Revised
Settlement, the fairness hearing, and related matters. Individual notice by first-class regular U.S.
Mail, and by email when email addresses were available, was sent to potential members of the
Settlement Class who could be identified through reasonable efforts, a summary notice was
published once in LBM Journal, and the mailed and summary notices were posted on the Internet
on a website dedicated to this litigation. Proof that mailing, publication, and posting have

conformed with the Preliminary Approval Order has been filed with the Court. Due and adequate
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notice has been provided to potential members of the Settlement Class in compliance with Fed. R.
Civ. P. 23 and the requirements of due process.

4. The Revised Settlement was entered into by Plaintiffs and Defendants in good faith
following an extensive investigation of the facts and substantial discovery sufficient for
experienced Plaintiffs’ counsel to evaluate the matter. It resulted from vigorous arm’s-length
negotiations undertaken by counsel with significant experience litigating antitrust class actions.

5. Final approval of the Revised Settlement is hereby granted pursuant to Fed. R Civ.
P. 23(e) because it is fair, reasonable, and adequate to the Settlement Class Members. In reaching
this conclusion, the Court considered the: (a) value of the Revised Settlement to the Settlement
Class; (b) posture of the case at the time the Revised Settlement was proposed; (c) extent of
discovery that had been conducted; (d) circumstances surrounding the negotiations; (e) experience
of Co-Lead Counsel in antitrust class action litigation; (f) relative strength of Plaintiffs’ case on
the merits; (g) the risks presented by Defendants’ impending summary judgment and Daubert
motions; (h) existence of any difficulties of proof or strong defenses the Plaintiffs were likely to
encounter if the case went to trial; (i) anticipated duration and expense of additional litigation; and
(j) degree of opposition to the Revised Settlement.

6. The Settlement Class conditionally certified by the Court in its Preliminary
Approval Order is certified as a class pursuant to Rule 23 of the Federal Rules of Civil Procedure
for the sole purposes of the Revised Settlement, and is comprised of all persons or entities that
Purchased IMDs in the United States from and including October 19, 2014, to and including
December 31, 2018 directly from either Defendant. Excluded from the Settlement Class are

Defendants, their parent companies, subsidiaries and affiliates, federal governmental entities and
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instrumentalities of the federal government, and any judicial officer presiding over the Action and
any member of his or her immediate family and judicial staff.

7. The Action is dismissed in its entirety with prejudice and without costs (except as
provided for in the Revised Settlement Agreement).

8. Plaintiffs and all members of the Settlement Class who have not timely excluded
themselves from the Settlement Class (including al! of their current and former, direct and indirect
parents, owners, subsidiaries, affiliates, divisions, predecessors, successors, assigns, insurers, and
shareholders; all respective current and former officers, directors, principals, partners, members,
heirs, attorneys, representatives, agents, and employees of each of the foregoing entities; and
assignees of any claim that is subject to release) (collectively, “Releasors”) are permanently barred
and enjoined from prosecuting against Defendants (and all of their respective current and former,
direct and indirect parents, owners, subsidiaries, affiliates, divisions, predecessors, successors,
assigns, insurers, and shareholders; and all respective current and former officers, directors,
principals, partners, members, heirs, attorneys, representatives, agents, and employees of each of
the foregoing entities) (collectively, “Releasees”) any and all causes of action asserted or that could
have been or could still be alleged or asserted, including without limitation claims, demands,
actions, suits, injuries, causes of action, damages, judgments, losses, and rights of action of any
nature, whenever and however incurred (whether actual, punitive, treble, compensatory, or
otherwise), including without limitation costs, fees, expenses, penalties, and attorneys’ fees,
whether class, individual, or otherwise in nature, that Releasors, or any of them, ever had, now
has, or hereafter can, shall, or may have, directly, representatively, derivatively, or in any other
capacity, against Releasees (or any of them), whether known or unknown, suspected or

unsuspected, foreseen or unforeseen, actual or contingent, liquidated or unliquidated, asserted or
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unasserted, whether in law or equity or otherwise, in whole or in part or arising out of or relating
in any way to any conduct, act, or omission of Releasees (or any of them) prior to and including
February 5, 2021, based upon any of the facts, occurrences, transactions, agreements, conspiracies,
communications, announcements, notices, or other matters alleged in the Action, under the
Sherman Act, 15 U.S.C. § 1, et seq., or any other antitrust, unjust enrichment, unfair competition,
unfair practices, trade practices, price discrimination, unitary pricing, racketeering, contract, civil
conspiracy or consumer protection law, whether under federal, state, local or foreign law, or any
facts, circumstances, acts or omissions arising out of or related to the allegations, including without
limitation in any other complaints filed in this Action or any related actions (the “Released
Claims”); provided, however, that nothing herein shall release: (a) any claims based upon indirect
purchases of IMDs brought by prospective members of any class of indirect purchasers (the
“Indirect Purchaser Class”); or (b) claims arising in the ordinary course of business for any product
defect, breach of contract, product performance, or warranty claims relating to IMDs.
9. Releasors have expressly waived and released any and all provisions, rights, and

benefits conferred by Section 1542 of the California Civil Code, which states:

Certain claims not affected by general release. A general release

does not extend to claims that the creditor or releasing party does

not know or suspect to exist in his or her favor at the time of

executing the release and that, if known by him or her, would have
materially affected his or her settlement with the debtor or released

party;

or by any law of any state or territory of the United States, or principle of common law, which is
similar, comparable, or equivalent to Section 1542 of the California Civil Code. Each Releasor
may hereafter discover facts other than or different from those the Releasor knows or believes to
be true with respect to the claims that are released pursuant to provisions of Paragraph 8 of this

Final Judgment Order, but each Releasor has expressly waived and fully, finally, and forever
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settled and released any known or unknown, suspected or unsuspected, contingent or non-
contingent claim with respect to the subject matter of the provisions of Paragraph 8 of this Final
Judgment Order, whether or not concealed or hidden, without regard to the subsequent discovery
or existence of such different or additional facts.

10. Pursuant to Paragraph 37 of the Revised Settlement Agreement, Plaintiffs and the
Defendants have agreed that the Opt-Out Percentage is 0%. Accordingly, each Defendant's total
cash payment under the Revised Settlement Agreement remains $61,600,000. Each Defendant will
deposit $30,750,000 (i.e., the Settlement Amount less the $50,000 each Defendant previously
deposited for the Notice Fund) into the Escrow Account established in the Court's preliminary
approval order not later than ten (10) business days after the entry of this Final Approval Order.
That account is, and remains, a Qualified Settlement Fund pursuant to Internal Revenue Code
Section 468B and the Treasury Regulations promulgated thereunder.

11. Neither the Revised Settlement Agreement, nor any act performed or document
executed pursuant to the Revised Settlement Agreement, constitutes an admission of wrongdoing
by any party in any civil, criminal, administrative, or other proceeding in any jurisdiction.

12. The Court approves the Plan of Distribution, the details of which are contained in
section VII of Plaintiffs’ Memorandum of Law in support of the Final Approval Motion, as a fair,
reasonable, and adequate method of allocating the monies in the Net Settlement Fund, and hereby
orders Plaintiffs to implement the Plan of Distribution as described therein.

13. Without affecting the finality of this Final Approval Order, the Court retains
exclusive jurisdiction over: (a) the Final Approval Order; (b) the Revised Settlement and Revised
Settlement Agreement, including its administration, implementation, and enforcement; and (c) any

application for disbursement of the Settlement Fund made by Co-Lead Counsel.
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14.

Pursuant to Fed. R. Civ. P. 54(b), the Court finds that there is no just reason for

delay and directs the entry of final judgment as to Defendants.

IT IS SO ORDERED.

DATED:

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9

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John A. Gibney, Jr. j sack
t Judge

United States Distri
Hon. John A. Gibney
United States District Judge
